               Case 2:20-cv-01538-RSM Document 16 Filed 01/11/21 Page 1 of 4




 1                                                    THE HONORABLE RICARDO S. MARTINEZ

 2

 3

 4

 5

 6

 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                       AT SEATTLE

10
     QUNESHIA RAWLS, individually and on                Case No. 2:20-cv-01538-RSM
11   behalf of all others similarly situated,
12                                    Plaintiffs,       JOINT STIPULATION TO EXTEND
                                                        DEADLINE FOR DEFENDANT TO
13           v.                                         RESPOND TO PLAINTIFF’S
14                                                      COMPLAINT
     CONVERGENT OUTSOURCING, INC.,
15
                                      Defendant.
16

17                                           I.     STIPULATION

18          Pursuant to LCR 7, Plaintiff QUNESHIA RAWLS and the opt-in Plaintiffs, by and

19   through their counsel, Frank Freed Subit & Thomas, LLP and Anderson Alexander, PLLC, and

20   Defendant CONVERGENT OUTSOURCING INC., by and through its counsel, Jackson Lewis

21   P.C., hereby stipulate and jointly move this Court for an order extending the deadline for

22   Defendant to file and serve its Response to Plaintiff’s Complaint from January 8, 2021, to March

23   19, 2021, so that the parties can continue their efforts to engage in good faith efforts to explore

24   the resolution of this action. The parties are in the process of negotiating a confidentiality

25   agreement and exchange of documents and information to further their resolution efforts, as well

26   as securing a date for mediation in or about May 2021, in the event their direct efforts at

27   negotiating a resolution fail.

28
     JOINT STIPULATION TO EXTEND DEADLINE TO RESPOND TO                          Jackson Lewis P.C.
     COMPLAINT - 1                                                            520 Pike Street, Suite 2300
                                                                              Seattle, Washington 98101
     (Case No. 2:20-cv-00888-RSM)                                                   (206) 405-0404
                   Case 2:20-cv-01538-RSM Document 16 Filed 01/11/21 Page 2 of 4




 1            The parties stipulate that good cause exists under LCR 7, Fed. R. Civ. P 16(b)(2), and
 2   LCR 16(b) to continue the above-referenced deadlines because the parties have agreed to engage
 3   in a near term, good faith exploration of a resolution of this matter that could obviate any further
 4   proceedings. The parties likewise stipulate that the requested extension promotes the policy
 5   supporting the voluntary resolution of disputes and preservation of judicial resources, and would
 6   facilitate an orderly administration of justice. Furthermore, Defendant’s lead counsel is the sole
 7   caregiver for a family member who had lung surgery for cancer in August 2020, and who has
 8   been suffering from Covid-19 and related complications since early December 2020, with those
 9   family duties impeding the parties’ ability to move forward with resolution efforts late last year,
10   following their earlier extension.
11            This Stipulation is based upon the following, and the parties agree:
12            1.       That this request is made in good faith and not for the purpose of delay.
13            2.       That nothing in this Stipulation, nor the fact of entering the same, shall be
14   construed as waiving any claim and/or defense held by any party.
15
              IT IS SO STIPULATED.
16

17            DATED this 8th day of January, 2021.

18
     FRANK FREED SUBIT & THOMAS LLP                           JACKSON LEWIS P.C.
19

20
     By:      /s/ Michael C. Subit                      By:       /s/ Peter H. Nohle
21         Michael C. Subit, WSBA #40801                      Peter H. Nohle, WSBA # 35849
22         Marc C. Cote WSBA #39824                           Daniel P. Crowner, WSBA #37136
           705 Second Avenue, Suite 1200                      520 Pike Street, Suite 2300
23         Seattle, WA 98104                                  Seattle, WA 98101
           Telephone: 206-682-6711                            Telephone: 206-405-0404
24         msuibt@frankfreed.com                              Peter.Nohle@jacksonlewis.com
           mcote@frankfreed.com                               Daniel.Crowner@jacksonlewis.com
25

26         Attorneys for Plaintiff and Putative Class         Attorneys for Defendant
           Members
27

28
     JOINT STIPULATION TO EXTEND DEADLINE TO RESPOND TO                             Jackson Lewis P.C.
     COMPLAINT - 2                                                               520 Pike Street, Suite 2300
                                                                                 Seattle, Washington 98101
     (Case No. 2:20-cv-00888-RSM)                                                      (206) 405-0404
                Case 2:20-cv-01538-RSM Document 16 Filed 01/11/21 Page 3 of 4




 1   ANDERSON ALEXANDER, PLLC

 2

 3   By:       /s/ Clif Alexander
           Clif Alexander (Pro Hac Vice
 4         Anticipated)
 5         Texas Bar No. 24064805
           Austin Anderson (Pro Hac Vice
 6         Anticipated)
           Texas Bar No. 24045189
 7         819 N. Upper Broadway
           Corpus Christi, TX 78401
 8         Telephone: 361-452-1279
 9         clif@a2xlaw.com
           austin@a2xlaw.com
10
           Attorneys for Plaintiff and Putative Class
11         Members
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     JOINT STIPULATION TO EXTEND DEADLINE TO RESPOND TO            Jackson Lewis P.C.
     COMPLAINT - 3                                              520 Pike Street, Suite 2300
                                                                Seattle, Washington 98101
     (Case No. 2:20-cv-00888-RSM)                                     (206) 405-0404
            Case 2:20-cv-01538-RSM Document 16 Filed 01/11/21 Page 4 of 4




 1                                        II.      ORDER
 2         Pursuant to the above stipulation, it is SO ORDERED.
 3
           DATED this 11th day of January, 2021.
 4

 5

 6

 7
                                                A
                                                RICARDO S. MARTINEZ
                                                CHIEF UNITED STATES DISTRICT JUDGE
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     JOINT STIPULATION TO EXTEND DEADLINE TO RESPOND TO               Jackson Lewis P.C.
     COMPLAINT - 4                                                 520 Pike Street, Suite 2300
                                                                   Seattle, Washington 98101
     (Case No. 2:20-cv-00888-RSM)                                        (206) 405-0404
